               Case 3:20-mj-70076-MAG Document 59 Filed 08/04/21 Page 1 of 2




 1   ISMAIL RAMSEY (Bar No. 189820)
     izzy@ramsey-ehrlich.com
 2   KATHARINE KATES ((Bar No. 155534)
     katharine@ramsey-ehrlich.com
 3   RAMSEY & EHRLICH LLP
     803 Hearst Avenue
 4   Berkeley, CA 94710
     (510) 548-3600 (Tel)
 5   (510) 291-3060 (Fax)
 6   Attorneys for Defendant Mohammed Nuru
 7

 8                                   UNITED STATES DISTRICT COURT
 9                                  NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11

12                                                   )    Case No.: CR 20-70028 MAG
     UNITED STATES OF AMERICA,                       )    Case No.: CR 20-70076 MAG
13                                                   )
                       Plaintiff,                    )    STIPULATION AND ORDER TO
14                                                   )    MODIFY BAIL CONDITIONS
             vs.                                     )
15                                                   )
     MOHAMMED NURU,                                  )
16                                                   )
                       Defendant.                    )
17                                                   )
                                                     )
18
             The defendant Mohammed Nuru is currently scheduled to appear before this Court for
19
     status and preliminary hearing or indictment on August 31, 2021.
20
             This court has previously ordered Mr. Nuru released on bail, with a $2 million bond, with
21
     $400,000 of that amount secured by a deed of trust on his primary residence.
22
             Mr. Nuru has complied with all of the terms of his pretrial release and supervision,
23
     without any violations. Mr. Nuru has requested to travel to his home in Stonyford, Colusa
24
     County, to perform maintenance for the weekends August 4th-9th, 2021, September 1st-7th, 2021,
25
     and October 27th-November 1st, 2021. His supervising pretrial services officer does not object to
26
     this request.
27

28

                                                      1
     Stipulation and Order
                Case 3:20-mj-70076-MAG Document 59 Filed 08/04/21 Page 2 of 2




 1            Accordingly, the United States and Mr. Nuru stipulate and move this court to modify the
 2   bail conditions to allow Mr. Nuru to travel to his home in Stonyford for the two above-described
 3   periods.
 4            All other conditions of Mr. Nuru’s pretrial release, imposed on January 28, 2020, will
 5   remain the same.
 6            IT IS SO STIPULATED.
 7   Dated:           August 3, 2021                              Respectfully Submitted,
 8                                                         RAMSEY & EHRLICH LLP
 9

10
                                                                         //s//    ____________
                                                           ISMAIL RAMSEY
11
                                                           KATHARINE KATES
                                                           Attorneys for MOHAMMED NURU
12

13                                                         DAVID L. ANDERSON
                                                           United States Attorney
14

15                                                                       //s//               _________
                                                           SCOTT D. JOINER
16                                                         S. WAQAR HASIB
                                                           Assistant United States Attorneys
17

18
              Mr. Nuru may travel to his home in Stonyford, Colusa County, to perform maintenance
19
     for the weekends August 4th-9th, 2021, September 1st-7th, 2021, and October 27th-November 1st,
20
     2021. All other conditions of Mr. Nuru’s pretrial release, imposed on January 28, 2020, will
21
     remain the same.
22
              GOOD CAUSE HAVING BEEN SHOWN, IT IS SO ORDERED.
23
     Dated: August 4, 2021
24

25                                                 ___________________________________
26
                                                   THE HONORABLE SALLIE KIM
                                                   UNITED STATES MAGISTRATE JUDGE
27

28

                                                      2
     Stipulation and Order
